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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION



 LEAGUE OF UNITED LATIN AMERICAN
 CITIZENS, et al.,

      Plaintiffs,                                               CIVIL ACTION NO.
                                                            3:21-cv-00259-DCG-JES-JVB
 v.                                                                  [Lead Case]
                                                                         &
 GREG ABBOTT, in his official capacity as                      All Consolidated Cases
 Governor of the State of Texas, et al.,

      Defendants.


       LULAC PLAINTIFFS’ DEMONSTRATIVES AND CORRESPONDING LULAC
                            EXHIBIT NUMBERS

          Plaintiffs LULAC, et al., (“LULAC Plaintiffs”) respectfully file the following chart

reflecting LULAC’s Demonstrative Exhibits 1 through 49 and their corresponding LULAC

Exhibit Numbers in compliance with the Court’s request during the May 23, 2025 morning trial

session.


 Demonstrative Exhibit            LULAC Exhibit Number                 Description
 Number
 1                                PL_LULAC 98                          PLANC2200
 2                                PL_LULAC 99                          PLANC2200
 3                                PL_LULAC 100                         PLANC2200
 4                                PL_LULAC 101                         PLANC2200
 5                                PL_LULAC 102                         PLANC2200
 6                                PL_LULAC 103                         PLANC2200
 7                                PL_LULAC 104                         CD 6
 8                                PL_LULAC 105                         PLANC2200
 9                                PL_LULAC 106                         CD 6 & CD 32
 10                               PL_LULAC 107                         PLANC2200
 11                               PL_LULAC 108                         CD 6, CD 30, & CD 32
 12                               PL_LULAC 109                         PLANC2200
 13                               PL_LULAC 110                         PLANC2200

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14                     PL_LULAC 111                 PLANC2200
15                     PL_LULAC 112                 PLANC2200
16                     PL_LULAC 113                 PLANC2200
17                     PL_LULAC 114                 PLANC2200
18                     PL_LULAC 115                 PLANC2200
19                     PL_LULAC 116                 PLANH2316
20                     PL_LULAC 117                 PLANH2326
21                     PL_LULAC 118                 PLANC2193
22                     PL_LULAC 119                 PLANC2200
23                     PL_LULAC 120                 PLANC2200
24                     PL_LULAC 121                 PLANC2200
25                     PL_LULAC 122                 PLANC2200
26                     PL_LULAC 123                 PLANC2200
27                     PL_LULAC 124                 PLANC2200
28                     PL_LULAC 125                 PLANC2200
29                     PL_LULAC 126                 PLANC2200
30                     PL_LULAC 127                 PLANC2200
31                     PL_LULAC 128                 PLANH2326
32                     PL_LULAC 129                 PLANH2326
33                     PL_LULAC 130                 PLANH2326
34                     PL_LULAC 131                 La Fiesta Market
35                     PL_LULAC 132                 Heb
36                     PL_LULAC 133                 El Rancho Supermercado
37                     PL_LULAC 134                 PLANC2200
38                     PL_LULAC 135                 PLANC2200
39                     PL_LULAC 136                 PLANC2200
40                     PL_LULAC 137                 PLANH2326
41                     PL_LULAC 138                 PLANC2200
42                     PL_LULAC 139                 PLANH2326
43                     PL_LULAC 140                 PLANC2200
45                     PL_LULAC 142                 Harlandale ISD
46                     PL_LULAC 143                 PLANH2326
47                     PL_LULAC 144                 PLANH2326
48                     PL_LULAC 145                 PLANH2326
49                     PL_LULAC 146                 PLANH2326




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Dated: May 24, 2025              Respectfully submitted

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                                    CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that she has electronically submitted a true and

correct copy of the above and foregoing via the Court’s electronic filing system on the 24th day

of May 2025.

                                                    /s/ Nina Perales
                                                    Nina Perales




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